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                                                                                            E.D.N.Y. – Bklyn
                                                                                                   18-cr-204
                                                                                                 Garaufis, J.

                               United States Court of Appeals
                                                     FOR THE
                                              SECOND CIRCUIT
                                              _________________

                     At a stated term of the United States Court of Appeals for the Second
       Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
       in the City of New York, on the 13th day of April, two thousand twenty-three.

       Present:
                      Myrna Pérez,
                      Alison J. Nathan,
                      Maria Araújo Kahn,
                            Circuit Judges.

       United States of America,

                                     Appellee,

                      v.                                                           21-1795

       Keith Raniere, AKA Vanguard,

                                     Defendant-Appellant.


       Appellant Keith Raniere appeals from an order of restitution entered by the district court. The
       Government moves to remand the appeal pursuant to the procedures set forth in United States v.
       Jacobson, 15 F.3d 19, 22 (2d Cir. 1994). Appellant opposes the motion. Upon due
       consideration, it is hereby ORDERED that the motion is GRANTED and the appeal is
       REMANDED.

       In accordance with Jacobson, the mandate shall issue forthwith. Jurisdiction over the appeal will
       be automatically restored to this Court, without the need for a new notice of appeal, upon
       notification of the Clerk of Court by either party within fourteen (14) days of the district court’s
       decision.

                                                     FOR THE COURT:
                                                     Catherine O’Hagan Wolfe, Clerk of Court




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